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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION

   MOTIVA PATENTS, LLC,
                                                       CIVIL ACTION NO. 9:18-cv-00180-JRG-KFG
          Plaintiff,
                                                       LEAD CONSOLIDATED CASE
          v.
                                                         JURY TRIAL DEMANDED
   SONY CORPORATION ET AL.,

          Defendants.

               OPPOSITION TO HTC’S MOTION FOR A PROTECTIVE ORDER
                           REGARDING PATENT LICENSES

         Motiva has requested a narrowly tailored set of license agreements: those that (1) relate

  to virtual reality, video games, or user-input devices; (2) require payment of a lump-sum of more

  than $1,000,000; or (3) require payment of a running royalty. This Court has repeatedly ordered

  production of this scope of license agreements. See, e.g., Ex. 1 at 10-11 [Abstrax, Inc. v.

  Hewlett-Packard Co., No. 2:14-cv-158, Dkt. No. 192 (E.D. Tex. Jan. 29, 2015) (Gilstrap, J.)]

  (ordering production of all patent licenses that (1) bear a running royalty; (2) call for payment of

  at least $10M; (3) cover general technical areas related to the technology at issue in the case; or

  (4) were with a range of large corporations active in the space); Ex. 2 at 1-3 [Mirror Worlds

  Tech. v. Apple Inc., No. 6:13-cv-419, Dkt. No. 441 (E.D. Tex. March 16, 2016) (Schroeder, J.)]

  (ordering discovery on any patent license, irrespective of the technology at issue, that (1)

  involves a payment of more than $20 million or (2) bears a running royalty).

         HTC did not produce a single patent license agreement until the end of discovery. At the

  end of discovery, HTC produced four license agreements that HTC’s counsel cherry-picked from

  a larger set that had been identified as relevant to the technology at issue in this action by HTC—

  and that HTC provided to its counsel in this action. See Ex. 3 at 54:3-56:10 [Rough Yu

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  Transcript].1




          HTC refused to produce any other license agreements requested by Motiva. HTC also

  refused to provide a witness to testify about any patent license agreement other than the four it

  selected. (And she was not even adequately prepared to testify about them.) HTC justified its

  refusal to produce license agreements, or to have a witness prepared to testify about them, based

  on its filing of this motion for a protective order.

          In order to prevail on its motion for a protective order, the moving party is required to

  establish good cause. See Fed. R. Civ. P. 26(c)(1) (the Court “may, for good cause, issue an

  order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

  or expense”). The party seeking a protective order bears the burden “to show the necessity of its

  issuance, which contemplates a particular and specific demonstration of fact as distinguished

  from stereotyped and conclusory statements. In re Terra Int’l, 134 F.3d 302, 306 (5th Cir. 1998)

  (emphasis added). A protective order is warranted in those instances in which the party seeking

  it demonstrates good cause and a specific need for protection. See Laundry v. Air Line Pilots

  Ass’n, 901 F.2d 404, 435 (5th Cir. 1990). The Court has broad discretion in determining whether

  to grant a motion for protective order because it is “in the best position to weigh fairly the

  competing needs and interests of parties affected by discovery.” Seattle Times Co. v. Rhinehart,

  467 U.S. 20, 36 (1984); see also Harris v. Amoco Prod. Co., 768 F.2d 669, 684 (5th Cir. 1985).




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           The witness’s obfuscation on this issue, as well as HTC’s counsel’s improper speaking
  objections and improper instructions, were truly remarkable. See, e.g., Ex. 3 at 42:15-58:10 [Yu
  Transcript (Rough)]. HTC appears to have been well aware that it was withholding important
  information.
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         HTC has not met its burden. HTC’s sole argument is that the licenses it wishes to

  withhold from discovery are not relevant because they do not qualify as “comparable” licenses

  for purposes of the Georgia-Pacific damages analysis. See Motion at 3-4. But “comparability”

  is what Motiva must show at trial to rely on a license agreement for purposes of its damages

  case. HTC’s unilateral decisions about which licenses are “comparable” is not a good basis for

  withholding them during discovery. See, e.g., Ex. 8 at 4 [CyWee Group Ltd. v. Samsung Elec.

  Co., Ltd., No. 2:17-cv-00140, Dkt. No. 62 (E.D. Tex. Jan. 23, 2018) (Payne, J.)] (“Although only

  comparable licenses are proper in a hypothetical-negotiation analysis, Defendants’ position

  allows them to unilaterally decide which licenses are comparable and therefore worthy of

  production. CyWee should be able to explore whether Defendants’ selection of “comparable”

  licenses is too exclusive, and Defendants’ identification of the requested licenses is part of

  allowing CyWee to do so.”); Ex. 9 at 2 [Ericsson Inc. v. TCL Comm. Tech. Holdings, Ltd., No.

  2:15-cv-00011, Dkt. No. 334 (E.D. Tex. Oct. 24, 2017) (Payne, J.)] (“Rule 26 allows discovery

  of any document that is relevant to a party’s claim or defense, and the document need not be

  admissible to be discoverable. Even if the third-party agreement is not comparable under

  Georgia-Pacific, as TCL suggests, this does not mean that TCL can insulate the document from

  discovery.”).2

         HTC has also failed to show that it would be unduly burdensome for it to produce the

  scope of patent licenses requested by Motiva. Indeed, HTC’s corporate witness recently testified




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            The only decision HTC points to from this district that denies the discovery sought by
  Motiva is Snyders Heart Valve. See Motion at 4. That order was based solely on a discovery
  call, without the benefit of briefing. Moreover, in that case the damages model presented was
  based on a profit split rather than a royalty based on comparable licenses.



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  that she has already identified—and turned over to HTC’s counsel in this action—many more

  relevant license agreements. See Ex. Ex. 3 at 54:3-56:10 [Rough Yu Transcript]. HTC has

  provided absolutely no evidence that it would have been unduly burdensome to produce those

  agreements, or any other agreement falling within the scope requested by Motiva.

                                         *       *      *

         For the foregoing reasons, the Court should deny HTC’s motion for a protective order

  and order immediate production of the requested patent license agreements.

  Dated: October 3, 2019                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 3rd day of October 2019, I served the foregoing on HTC by
  email. I will promptly confer with counsel for HTC to prepare a redacted version of this filing
  for public filing.

                                                      /s/ Matthew J. Antonelli
                                                      Matthew J. Antonelli


               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

         I hereby certify that I am authorized to file this motion under seal because it contains
  information designated confidential by HTC Corporation under the Protective Order entered by
  the Court.

                                                      /s/ Matthew J. Antonelli
                                                      Matthew J. Antonelli




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